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 1                                                                     THE HONORABLE TANA LIN

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 6
                                  UNITED STATES DISTRICT COURT
 7                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 8

 9    CORNER COMPUTING SOLUTIONS SP, et                      No. 2:23-cv-00939 TL
      al.,
10                                                           JOINT STATUS REPORT
                             Plaintiff,
11
              v.
12
      GOOGLE LLC,
13
                             Defendant.
14

15
              Pursuant to Federal Rule of Civil Procedure 26(f), Local Civil Rule 26(f), and the Court’s
16
     Order dated June 28, 2023, Dkt. 9, the parties submit the following Joint Status Report and
17
     Discovery Plan.
18
              1.      Nature and complexity of the case.
19
                      (A)    Plaintiff’s Statement: Google LLC via not dealing in a fair and timely
20
                             manner and in good faith (by ignoring facts I gave them in the statements
21
                             for review removal) with the initial review removal request and the
22
                             escalation of that request; has breached the covenant of good faith and fair
23
                             dealing. Google LLC ignored communications via the escalation and the
24
                             initial review removal request for more than 3 months. They ignored their
25
                             own agreements for content removal, which the 1 star reviews meet via their
26

      JOINT STATUS REPORT – 1                                                   Perkins Coie LLP
                                                                         1201 Third Avenue, Suite 4900
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 1                          “Fake Engagement” policy and other content removal sections and

 2                          subsections of that policy. Third, Google LLC acted with undue prejudice

 3                          and unfairly specifically on the CORNER SOLID SOLUTIONS account

 4                          which had “Fake Engagement” reviews removed, but not on the CORNER

 5                          COMPUTING SOLUTIONS account. Even though those reviews were left

 6                          by the same accounts with similar content. Again meeting the “Fake

 7                          Engagement” standard and other standards.

 8                                 The summary claims are that one, GOOGLE LLC did not act in a

 9                          fair and timely manner and in good faith of the escalation and statements

10                          given by CORNER COMPUTING SOLUTIONS about the 1 star reviews.

11                                 Two GOOGLE LLC ignored communications and requests and

12                          escalation for an unfair amount of time.

13                                 Three, GOOGLE LLC acted unfairly with the CORNER

14                          COMPUTING SOLUTIONS account by not removing “Fake Engagement”

15                          reviews that were removed from the CORNER SOLID SOLUTIONS

16                          account.

17                                 Four, GOOGLE LLC did not keep good faith by breaching their own

18                          policy on content removal of GOOGLE REVIEW and AD WORDS

19                          otherwise GOOGLE ADS accounts. They ignored my statements of how

20                          these were not customers of mine and that I never had any real customer

21                          engagement with the accounts that left the one star reviews within a short

22                          time frame. Instead of communicating with me about the matter in a

23                          constructive way.

24                    (B)   Defendant’s Statement: This case was brought by a pro se plaintiff against

25                          Defendant Google LLC (“Google”), largely based on Google’s alleged

26                          failure to remove unfavorable online reviews posted by third parties from

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 1                           Plaintiff’s Google Business Profile. Although Plaintiff’s allegations in the

 2                           Complaint are unclear, Plaintiff appears to allege that Google breached an

 3                           unspecified contract by failing to remove such reviews, and also somehow

 4                           breached the duty of good faith and fair dealing. It is Google’s position that

 5                           Plaintiff’s Complaint should be dismissed for failure to state a claim and

 6                           because Plaintiff’s claims are barred by Section 230 of the Communications

 7                           Decency Act. See Dkt. 10.

 8            2.      Consent to United States Magistrate Judge. No.

 9            3.      Proposed deadline for joining additional parties. The parties propose October 9,

10   2023.

11            4.      Proposed deadline for the filing of the Motion for Class Certification. N/A.

12            5.      Discovery Plan.

13                    (A)    Initial Disclosures. Initial disclosures were exchanged on August 9, 2023.

14                           See Dkt. 9.

15                    (B)    Subjects, Timing, and Potential Phasing of Discovery. In the event this case

16                           survives Google’s motion to dismiss, the parties anticipate normal

17                           discovery, including written discovery and depositions related to liability,

18                           damages, and Google’s affirmative defenses. The parties anticipate that the

19                           scope of discovery will be narrow, and that discovery can likely be

20                           completed in six months. The parties do not see a need for phasing

21                           discovery at this time.

22                    (C)    Issues About Discovery or Electronically Stored Information (“ESI”). The

23                           parties agree to preserve relevant ESI that is also proportional to the needs

24                           of the case. The parties do not anticipate complications with respect to the

25                           discovery of ESI. The parties do not currently see a need for entry of an ESI

26                           protocol.

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 1                    (D)    Privilege Issues. The parties do not anticipate any abnormal privilege

 2                           issues.

 3                    (E)    Changes to Discovery Limitations.        The parties do not anticipate any

 4                           changes to the limits on discovery set forth in the Federal Rules of Civil

 5                           Procedure and the Local Civil Rules.

 6                    (F)    Need for Discovery-Related Orders. The parties anticipate proposing a

 7                           stipulated protective order for entry by the Court. No other discovery-

 8                           related orders are anticipated at this time.

 9            6.      Local Civil Rule 26(f)(1):

10                    (A)    Prompt Case Resolution.

11                           (i) Plaintiff’s Statement: Google LLC has yet to make an offer or start a

12                           conversation for Settlement which I am willing to discuss and consider if

13                           one is made.

14                           (ii) Defendant’s Statement: Defendant does not believe that this case is ripe

15                           for prompt case resolution at this time given Defendant’s pending motion

16                           to dismiss, but is amenable to considering case resolution at a later time

17                           should this case proceed past the pleading stage.

18                    (B)    Alternative Dispute Resolution.

19                           (i) Plaintiff’s Statement: Plaintiff does not want to pursue alternative

20                           dispute resolution.

21                           (ii) Defendant’s Statement: Defendant does not believe that this case is ripe

22                           for alternative dispute resolution at this time given Defendant’s pending

23                           motion to dismiss, but is amenable to considering alternative dispute

24                           resolution at a later time should this case proceed past the pleading stage.

25                    (C)    Related Cases. None.

26

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 1                    (D)    Discovery Management. The parties believe that discovery should be

 2                           managed as provided for in the Federal Rules of Civil Procedure and the

 3                           Local Civil Rules. The parties do not seek additional management on

 4                           discovery issues at this time but may seek an order or other guidance from

 5                           the Court should the need arise.

 6                    (E)    Anticipated Discovery Sought. Should this case proceed past the pleading

 7                           stage, the parties anticipate discovery pursuant to the Federal Rules of Civil

 8                           Procedure 30, 33, 34, and 36, and anticipate minimal third-party discovery.

 9                    (F)    Phasing Motions. Defendant believes that its pending motion to dismiss

10                           resolves the case, and thus should be decided before any other motions. The

11                           parties do not otherwise see a need for phasing motions.

12                    (G)    Preservation of Discoverable Information. The parties do not foresee issues

13                           with the preservation of or production of ESI, subject to any applicable

14                           objection or privilege.

15                    (H)    Privilege Issues. The parties do not foresee disputes regarding privilege

16                           during the course of discovery but will work cooperatively to address any

17                           such issues should they arise.

18                    (I)    Model Protocol for Discovery of ESI. This case may involve limited ESI.

19                           The parties currently do not anticipate the need for a protocol for discovery

20                           of ESI.

21                    (J)    Alternatives to the Model Protocol. Not applicable.

22            7.      Discovery Completion. The parties believe that discovery can be completed 90

23   days prior to trial.

24            8.      Bifurcation. The parties do not believe bifurcation of liability and damages are

25   necessary in this case at present. The parties, however, reserve the right to seek bifurcation.

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 1            9.      Pretrial Statements. At this time, the parties agree that they will comply with, and

 2   not dispense with, pretrial statements and the pretrial order, but reserve the right to seek leave to

 3   dispense with such statements at an appropriate time prior to trial.

 4            10.     Individualized Trial Program. The parties do not believe that the Individualized

 5   Trial Program is appropriate for this case.

 6            11.     Alternative Dispute Resolution.

 7                    (A)    Plaintiff’s Statement: Plaintiff does not want to pursue alternative dispute

 8                           resolution.

 9                    (B)    Defendant’s Statement: Defendant does not believe that this case is ripe for

10                           alternative dispute resolution at this time given Defendant’s pending motion

11                           to dismiss, but is amenable to considering alternative dispute resolution at

12                           a later time should this case proceed past the pleading stage.

13            12.     Suggestions for Shortening or Simplifying the Case. The parties currently have no

14   specific suggestions for shortening or simplifying the case while Defendant’s motion to dismiss is

15   pending.

16            13.     Trial Readiness. July 8, 2024.

17            14.     Jury Trial. Yes.

18            15.     Trial Days Required. The parties estimate approximately 5 trial days will be

19   required.

20            16.     Names, Addresses, and Telephone Numbers of All Trial Counsel.

21                    (A)    Plaintiff:

22                     Plaintiff is a sole proprietorship owned by Dale Corner proceeding pro se

23                    (B)    Defendant:
                                      Sunita Bali, Pro Hac Vice Forthcoming
24                                        Cara Wallace, WSBA #50111
25                               Perkins Coie LLP 1201 Third Avenue, Suite 4900
                                                Seattle, WA 98101
26                                            Phone: (206) 359-8000

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 1            17.     Trial Date Conflicts.

 2                    (A)     Plaintiff: I currently have no conflict with trial date. However I would like

 3            to see it sooner if possible.

 4                    (B)     Defendant: December 22, 2023–January 1, 2024, March 29–31, 2024, May

 5            6–June 21, 2024, July 19–21, 2024

 6            18.     Service.

 7                    (A)     Plaintiff’s Statement: Tacit acceptance via removal and acting as if the

 8                            client had been appropriately served. The improper service motion should

 9                            have been filed at the superior court level as to not needlessly burden the

10                            federal court system. The claim is apparent even though defendant claims

11                            ignorant and has also tacitly accepted a claim exists by acting as though one

12                            does. This via removal and filing a motion for dismissal based on of Title

13                            47 of the United States Code Section 230(c)(1). Defendants main defensive

14                            claim.

15                    (B)     Defendant’s Statement: Prior to removal, Plaintiff brought suit against

16                            Defendant in Washington state court but Defendant was not properly served

17                            under Washington Civil Rule 4 and RCW 4.28.180. On June 29, 2023,

18                            Defendant moved the Court for dismissal, including on                  grounds of

19                            improper service. See Dkt. 10. Defendant also has not been served pursuant

20                            to Federal Rules of Civil Procedure 4 and 5.

21            19.     Scheduling Conference. The parties do not anticipate the need for a scheduling

22   conference.

23            20.     Nongovernmental Corporate Disclosures.

24                    (A)     Plaintiff: Not applicable.

25                    (B)     Defendant: Defendant Google LLC filed a corporate disclosure statement

26                            on June 22, 2023. See Dkt. 4.

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 1            21.       Certification regarding Judge Lin’s Chambers Procedures, the Local Rules, General

 2   Orders, and the Applicable Electronic Filing Procedures.

 3                      (A)      Plaintiff’s Statement: See attached Appendix A.

 4                      (B)      Defendant’s Statement: Defendant Google LLC’s counsel certify that they

 5                               have reviewed Judge Lin’s Chambers Procedures, the Local Rules, General

 6                               Orders, and the applicable Electronic Filing Procedures.

 7            22.       Certification regarding Judge Lin’s Standing Order Regarding 28 U.S.C. § 455 and

 8   Canon 3 of the Code of Conduct for United States Judges.

 9                      (A)      Plaintiff’s Statement: See attached Appendix A.

10                      (B)      Defendant’s Statement: Defendant Google LLC’s counsel certify that they

11                               have reviewed Judge Lin’s Standing Order Regarding 28 U.S.C. § 455 and

12                               Canon 3 of the Code of Conduct for United States Judges.

13

14   Dated: August 23, 2023                                   By: s/ Cara Wallace1
                                                                  Cara Wallace, Bar No. 50111
15                                                                Perkins Coie LLP
                                                                  1201 Third Avenue, Suite 4900
16                                                                Seattle, Washington 98101-3099
                                                                  Telephone: +1.206.359.8000
17                                                                Facsimile: +1.206.359.9000
                                                                  CWallace@perkinscoie.com
18
                                                                    Sunita Bali, Bar No. 274108 (Pro Hac Vice
19                                                                  application forthcoming)
                                                                    Perkins Coie LLP
20                                                                  505 Howard Street, Suite 1000
                                                                    San Francisco, California 94105
21                                                                  Telephone: +1.415.344.7000
                                                                    Facsimile: +1.415.344.7050
22                                                                  SBali@perkinscoie.com

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25            1
               Ms. Wallace met and conferred with Plaintiff between July 24, 2023 and August 22, 2023 and Plaintiff has
26   approved the content of this report. Plaintiff’s signature is not affixed to this report, however, because Plaintiff did not
     respond to Ms. Wallace’s request seeking authorization to sign the report on his behalf.

      JOINT STATUS REPORT – 8                                                                   Perkins Coie LLP
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 1                                                Attorneys for Defendant GOOGLE LLC

 2
                                              By: ___________________________________
 3                                                Dale Jake Corner
                                                  22823 - 14th Pl. West
 4                                                Bothell, WA 98021
 5                                                Pro Se Plaintiff
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              Appendix A
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                                     UNITED STATES DISTRICT COURT

                              WESTERN DISTRICT OF WASHINGTON AT SEATTLE



CORNER COMPUTING SOUTIONS SP,                No 2:23-cv-00939 TL

Et al.,                                      CERTIFICATION OF REVIEW AND COMPLIANCE

                 Plaintiff,

v.

GOOGLE LLC,

                 Defendant.



I, Dale Jake Corner, Sole Proprietor of CORNER COMPUTING SOLUTIONS (Operating Name) and plaintiff
as Pro Se in Case Number 2:23-cv-00930 do hereby certify as follows:

     1.   I have reviewed Judge Lin’s Chamber Procedures, the Local Rules, General Orders, and
          applicable Electronic Filing Procedures.

     2. I have reviewed Judge Lin’s Standing Order Regarding 28 U.S.C § 455 and Canon 3 of the Code of
        Conduct for United States Judges.



                                                                Dated this day 7 16 2023 @ 5:52PM PST

                                                          Signed Dale Jake Corner in Bothell Washington

                                                22823 14nth pl west Bothell Washington Mailing Address

                                                                                 Phone: 1 206 853 5207

                                                   Signature:
                   Case 2:23-cv-00939-TL Document 13 Filed 08/23/23 Page 12 of 12




 1                                    CERTIFICATE OF SERVICE

 2            I certify that on August 23, 2023, I electronically filed JOINT STATUS REPORT with the

 3   Clerk of the Court using the CM/ECF system.

 4            And I hereby certify that I have caused the following non-CM/ECF participant to be served

 5   the foregoing by the method indicated:

 6
      Dale Jake Corner                              ___    Via hand delivery
 7    22823 - 14th Pl. West                         _X_    Via U.S. Mail, 1st Class, Postage Prepaid
 8    Bothell, WA 98021                             ___    Via Overnight Delivery
                                                    ___    Via Facsimile
 9                                                  ___    Via Email
                                                    ___    Other: ___________________
10

11
     Dated: August 23, 2023                        By: s/ Cara Wallace
12                                                     Cara Wallace, Bar No. 50111
                                                       Perkins Coie LLP
13                                                     1201 Third Avenue, Suite 4900
                                                       Seattle, Washington 98101-3099
14                                                     Telephone: +1.206.359.8000
                                                       Facsimile: +1.206.359.9000
15                                                     CWallace@perkinscoie.com
16

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      CERTIFICATE OF SERVICE                                                   Perkins Coie LLP
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